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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


                                                   :
JAKUB MADEJ                                        :      CIVIL ACTION NO.
                                                   :      3:20-cv-00133-JCH
                                                   :
                     PLAINTIFF                     :
                                                   :
v.                                                 :
                                                   :
 YALE UNIVERSITY, MARVIN CHUN,                     :
 MARK SCHENKER, PETER SALOVEY AND                  :
 JESSIE ROYCE HILL                                 :
                                                   :
       DEFENDANTS                                  :      JUNE 8, 2020
                                                   :
                    YALE UNIVERSITY’S ANSWERS TO PLAINTIFF’S
                      FIRST SET OF REQUESTS FOR ADMISSION


      The defendant, Yale University, hereby responds to the plaintiff’s First Set of Requests
for Admission dated May 6, 2020 as follows:

        The defendant objects to the “instructions” and “possible responses” to the extent that
they are inconsistent with the Federal Rules of Civil Procedure.

        REQUEST No. 1.: Admit that plaintiff Jakub Madej is neither a citizen nor a
        permanent resident of the United States.

        RESPONSE:           The defendant has no first hand knowledge of the plaintiff’s
        current immigration status. The defendant admits that the plaintiff came to Yale
        University with an F-1 student non-immigrant status.

        REQUEST No. 2.: Admit that Yale University deactivated plaintiff’s F-1 student
        status within 15 days after Yale determined that he be academically withdrawn.

        RESPONSE:          The defendant admits that the plaintiff’s F-1 record was
        deactivated within 15 days after his academic withdrawal, as required by United
        States law.




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REQUEST No. 3.: Admit that Plaintiff would be unlawfully present in the United
States had he not left the United States within 15 days after Yale determined that plaintiff
be academically withdrawn.

RESPONSE:            The defendant admits that, once he was academically
withdrawn, the plaintiff lost his F-1 student status. Within 15 days of losing that
status, a student is either required to depart the United States or file a change of
status to another non-immigrant status.

REQUEST No. 4.: Admit that Yale University does not require international
students to obtain B1/B2 (visitor/business) visas.

RESPONSE:           The defendant admits that there is no requirement for
international students to obtain B1/B2 visas. In fact, a student is subject to penalties
for maintaining both simultaneously.

REQUEST No. 5.: Admit that an individual admitted to the United States on a visitor
visa (B1/B2) is not permitted to accept employment or work in the United States.

RESPONSE:          The defendant admits this request in part. The general rule is
that employment is not permitted on a B1/B2 status. However, there are exceptions.

REQUEST No. 6.: Admit that plaintiff was a student employee at Yale University
until the end of February 2020.

RESPONSE:            This request for admission is denied. The defendant’s records
indicate that the plaintiff’s last date of employment as a student employee occurred
during the week of January 12-18, 2020.

REQUEST No. 7.: Admit that plaintiff had not accepted any remuneration from Yale
as a student employee after Yale deactivated his F-1 status.

RESPONSE:          This request for admission is denied, since the plaintiff received
payment after deactivation of his F-1 status.

REQUEST No. 8.: Admit that a foreigner unlawfully present in the United States for
180 days or longer but less than one year is ineligible for a visa for 3 years after
departure from the United States.

RESPONSE:            This request for admission is denied as stated; however, the
defendant acknowledges that, pursuant to United States law, there are a number of
penalties for individuals who are unlawfully present in the country. Those penalties
are complex and outlined in statutes and regulations.


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  REQUEST No. 9.: Admit that a foreigner unlawfully present in the United States for
  one year or more is ineligible for a visa for 3 years after departure from the United
  States.

  RESPONSE:               See response to Request for Admission Number 8.

  REQUEST No. 10: Admit that plaintiff received full financial aid every term he spent
  at Yale College.

  RESPONSE:               This request for admission is admitted.

  REQUEST No. 11: Admit that Defendant Mark SCHENKER has been the chair of
  the Committee on Honors and Academic Standing since year 2000.

  RESPONSE: The defendant admits that Dean Schenker has been the chair of the
  Committee on Honors and Academic Standing since the year 2000 and for several
  years prior to that.

  REQUEST No. 12.: Admit that the faculty legislation that established the Committee on
  Honors and Academic Standing categorically bars the committee from considering a
  petition from a student for a change of term grade.

  RESPONSE:            This request to admit is denied, except to admit that the
  Committee on Honors and Academic Standing may not consider a petition for a
  student for a change of term grade.

  REQUEST No. 13.: Admit no written procedures or policies of the Committee on
  Honors and Academic Standing at Yale College are contained in the Blue Book, also
  known as Yale College Programs of Study.

  RESPONSE:            It is admitted that the procedures and policies of the Committee
  on Honors and Academic Standing are not contained in the Blue Book; they are
  contained in the DUS Handbook. They are also contained in the places indicated in
  response to Request for Admission Number 14.

  REQUEST No. 14.: Admit that Committee on Honors and Academic Standing at Yale
  College has no written procedures or policies, excluding the information available
  online under the following links:

1) https://yalecollege.yale.edu/get-know-yale-college/office-dean/committees/committee-honors-
   and-academic-standing-chas, archived at: https://perma.cc/7CJJ-EQ5W;
2) http://catalog.yale.edu/dus/committee-honors-academic-standing/,     archived
   at: https://perma.cc/Y2LB-H9BL


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RESPONSE:          It is admitted that the policies and procedures of the Committee
on Honors and Academic Standing are available at the three links noted, and there
are no other publicly available listings of the policies and procedures of the
Committee on Honors and Academic Standing.

REQUEST No. 15.: Admit that Yale University possesses no statistics about the number
of students who were withdrawn for academic reasons by the Committee on Honors
and Academic Standing.

RESPONSE:            Denied.

REQUEST No. 16: The Committee on Honors and Academic Standing meets about
twice a month during the regular academic year.

RESPONSE:            Admitted.

REQUEST No. 17: The Committee on Honors and Academic Standing met at least six
(7) times in Fall 2019 semester, up to and including January 13, 2020.

RESPONSE:            Denied. The Committee on Honors and Academic Standing met
six times during the Fall 2019 semester. The Committee on Honors and Academic
Standing also met following the conclusion of the Fall, 2019 semester on January 13,
2020.

REQUEST No. 18: Full Committee on Honors and Academic Standing decides any
matter that raises a question of academic policy or that is in some other way unusual.

RESPONSE:             This Request for Admission is denied as stated. The defendant
admits that the Full Committee will typically consider any matter within its purview
that is unusual or for which there are few guidelines or precedents.

REQUEST No. 19: The picture attached as “Exhibit 2” is a fair photograph of
Defendant Mark SCHENKER.

RESPONSE:             The defendant objects to Request for Admission 19 on the
ground that it has no possible relevance to this action.

REQUEST No. 20.: Fewer than ten (10) students were dismissed for academic
reasons following the Fall 2019 semester.

RESPONSE:            It is admitted that fewer than ten students from Yale College
were dismissed for academic reasons immediately following the Fall, 2019 semester.




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                                                THE DEFENDANT, YALE UNIVERSITY

                                          By:                 /s/
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.

Jakub Madej
415 Boston Post Road
Suite 3-1102
Milford, CT 06460

                                                      _______________/s/________________
                                                             Patrick M. Noonan




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                              EXHIBIT 1.

1)   Mark Schenker, Chair
2)   Sarah Insley, Secretary
3)   Dana Angluin
4)   Benjamin Glaser
5)   Jason Shaw
6)   Kirk Wetters
7)   Daria Vander Veer, ex officio
8)   Helena Lyng-Olsen, PC '22
9)   Keshav Raghavan, MY '21




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                          EXHIBIT 2.




                                   _______________/s/________________
                                         Patrick M. Noonan




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